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Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1062 Filed 01/31/22 Page GT

 

 

 

Loretta Robichaud

 

 

From: Anthony Eid

Sent: Wednesday, March 20, 2019 4:55 PM

To: Richard Baker; Loretta Robichaud; Ja Esta Jones

Subject: Dismisal Decision Appeal Letter and Evidence

Attachments: Appeal letter.docx; Evalue scores.pdf; Evalue student comments.pdf; Evalue student

camments 2.pdf; Incident Statement 2 .docx

Hello Dr. Baker,

Attached you will find the appeal to my dismissal letter. | understand that you have the authority to make the
decision on the appeal yourself, and also understand from our meeting together that you will get the
promotions commitee back together to discuss the new information | have provided.

| have still waiting on a few letters of support from various entitles on campus, because of this, as |
understand the commitee meets every month, if this case can be brought up in April instead of March so that |
can bring with me those letters | would appreciate it.

| hope, and pray that the appeal and supporting evidence is sufficient, and that | will get a seconded chance at
here in the only community | have ever known. | feel as though my life is at stake with this decision.

Thank you for your help and understanding. Please let me know if you, or any other members of the commitee
have any questions about my appeal.

Best,

Anthony Eid, MS

Wayne State University, Schoal of Medicine
M.O. Candidate, President — Class of 2021
248.310.8610

WSU / Eid 000525

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Dear Members of the Promotions Committee:

Medical school is more than learning about the art of healing- it’s also a time to develop
the traits of a physician: honesty, professionalism, and integrity. When it came to exhibit these
important qualities, | was severely lacking. I would like to take this opportunity to explain
myself and act to remediate my mistakes in order to develop into the physician that the
WSUSOM believed I could become.

] met (and her parents) at Festifall 2016. She was a freshmen student at
the time and was clearly stressed about starting school. I introduced myself and we exchanged
phone numbers. Shortly after, I later offered her a pdf copy of a few textbooks and old practice
test materials for classes that she was taking that I had taken in years past (I had taken some of
the same classes, taught be different professors, back in 2010/2011) that were stored on my
iCloud account on my personal computer. She was grateful and thanked me for the help.

On social medial, | noticed J had been making frequent posts on Twitter where
she was clearly in a depressed state of mind. Posts would range from worrying about
performance in school, not sleeping, drug use, and mental illness. These included “I feel so
(expletive) helpless”, “Always (expletive) up no matter what I do”, “I am not happy with the life
I am living”, “I thought I had reached an all time low before, but nothing compares to the feeling

of defeat that is overcoming me right now”. These tweets took place in 2017. At this point, |
decided to reach out again to offer support.

One text message was particularly embellishing, I suppose in my immaturity I thought
that appealing to vanity might help foster a friendship. As was stated at the end of the text
message, I wanted nothing more than a completely platonic friendship. At the time, I had been
dating my significant other for eight years (we will now be celebrating our ten-year anniversary
this month). We are both very much in Jove and I would never do anything to ruin the sanctity of
our relationship.

After this happened, | noticed that my iCloud account would routinely be breeched and
accessed by someone. My iCloud account had many pieces of deeply personal and sentimental
items stored on it, including all of my photos, passwords to other accounts, contacts, school
material, tax documents, social security card, and diverse license. As I knew had
accessed and had the password to my iCloud account from when I sent her the pdf textbooks, I
thought that it was her that accessing my accounts. I did not know if this was purposeful, and 1
read on a tech subreddit (on the tech forums of reddit) that the problem may have steamed from
when she accessed my account the first time. At this point, I just wanted my account to be fixed,
so] asked if she could assist me in either meeting in person, in a public place like a
coffee shop, to try to fix it, or changing her password to a different one temporarily so J could try
to fix this account (please note, I was not asking for her actual password, but a temporary one
that could be changed right after attempting to fix the account). Much of this took place in early
2017. To the best of my recollection, ] did not have much communication with her from mid-
2017 until August 2018 when I received another message that my account had once again been

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accessed at an address | thought was connected to her. If there was communication between
these times, it was infrequent with months between them.

During this time, I have had many of my accounts breeched. These included my iCloud,
Google, Capitol One, and Flagstar Bank accounts. I can produce a police report of the latest
breach (which took place on 2/9/19, when $80 was stolen from my Flagstar account), and
documentation of other times my accounts had been breached if this committee would like to see
them. I was, and still am, fearful because of this situation. I feel like I have been personally
attacked, that my privacy has been taken away from me, and that my identiy has been stolen. |
have to constantly check every month to make sure that there are no new beaches or
unauthorized charges attributed to me due to this issue. This fearfullness is the main contrubting
factor for the actions that I had taken to try to fix the issue.

The last communication I had with {J was on October 27th, when I received no
less than eight calls from a private number, and then one from a phone number: SG in
Colorado Springs, CO; that I can only assume was either MJ or one of her associates. When
I answered the phone, I was told a racial slur and hate speech that made me extremely upset. The
person on the line said “enjoy this country while you are still in it, you dirty Arab”. I thought
about reporting this to the police or to the university, but I did not. I did not think it would do any
good as (M was not a student and I didn’t want to go through the added stress of filing a
police report at the time.

Since that day, I have had absolutely no communication with i I deleted her
number after the racial slur/hate speech and had already had her blocked on all social media
including: Facebook, Instagram, Twitter, and Snapchat. I also do not want any further
communication with her at all,

I take full responsibility for the text messages/Facebook messages that were sent to
GE | deeply regret how this incident has taken place. I understand that I lied to this person
about many things, and I am very sorry about that. ] never had a lawyer like I stated I did in the
text messages, and while I did consider suing for damages in civil court regarding this issue, I
never did go file in court for any such damages. I never sent her any court correspondences.

None the less, I did send the text messages. | said these things so J would work
with me to fix this issues with my account and so she would take me seriously so I could fix my
account. It was wrong, I was scared, and I should have been more honest with her.

In hindsight, [ know that the actions | took were not the right course of action to take in
this mater, and [ feel terribly about the whole situation. [ promise that I will be working on
myself to make better decisions in the future, through deep self-reflection and professional help.
Everyone makes mistakes, and while I try to hold myself to the upmost ethical standards, |
myself am not perfect. ] am not a frequent liar, and in fact ] think I’m terrible at it. This was a
onetime incident, and I have no other incidents or relationships like this one that has happened
with J This was a potential friendship gone wrong, and | will be very careful in the future
to make sure nothing like this happens ever again.

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I have also leamed a valuable lesson from this incident. In my own hubris I thought I
could handle this issue myself, without thinking how aay felt about the situation. This was
also a grave mistake. I now know that if anything like this were to happen in the future, I should
take it up with the proper authorities such as the police, Apple, and C&IT instead of trying to fix
it on my own. In retrospect, If 1 had done this in the first place, | probably would not have

needed assistance at all.

I was deeply surprised and distraught with the professionalism committee's
recommendation, and I do not understand it on my levels. I am confused as to which specific
code of conduct or school of medicine policies that I have broken. I think it is also important to
note that the actions in themselves are not a medical school issue, but rather a civil one in my
eyes. My accuser was not a student at the time the alleged incident took place and was only a
student at this university for one semester (to the best of my knowledge), so ] do not
understand how this could fall under student mistreatment. While the professionalism
committee’s letter seemed to focus on “harassment” and “misrepresentation”, [ have not been
charged with any crime alleging harassment, or any other chargers related to this incident, even
though the police were made aware of this situation in October. I am confused as to how the
professionalism committee's decision can accuse me of these crimes even though I have not
been by the proper authorities. I would like to reiterate that this whole situation has no bearing,
in any way on my studies, my future patients, or any other members of the SOM community.

My reputation is very important to me. 1 am currently in my ninth year of studies at
Wayne State University. I have earned three degrees from this institution and am half way
through the highest degree that the university bestows upon studetns. During my time here, I
have surveyed the community in many different capacities. | was an RA for four years, I was the
student body president on main campus, | have volunteered my time in countless student
organizations and other places in the community, including over one hundred hours in our own
co-curricular MPAC program, I am currently the president of my class, participate frequently
and present research around the country, and am overall an upstanding student. I have been
awarded and recognized for my service in many ways, ranging from major awards from different
offices on campus, to scholarships and general recognition. I have sat on many different
commitees with the members of this committee, and I feel as if you know the kind of person that
I am. I say this, because being able to do these activates are only possible because my peers trust
me, and 1 would never do purposely do anything to violate the trust that this community has
instilled in me.

During these activites that I just mentioned, I have met quite literally thousands of
students, faculty members, and patients in need at our clinics. I would like to note that this is the
first time anyone has reported any incident of alleged harassment about me in any form over the
last nine years [ have been a member of this community, and overall, I feel like I represent the
WSUSOM very well.

No pressure, strain, or hardships should ever allow one to compromise their integrity, but
I let that happen to me and I will be forever be remorseful. Unlike when | began medical school,

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Medical School is the single defining factor of my identity. Becoming a physician is all
that I have ever wanted to do since | was five years old. Without it, I will truly be lost.
Irreputable harm wil] be done to my future. [ understand the difficult decision this committee
has to make regarding my future, and I’m truly sorry to have put you all in a position like this. |
hope that you find I am worth investing in. 1 am asking for a second chance to prove it.

Sincerely,

Anthony Eid, MS
Wayne State University, School of Medicine
M.D. Candidate, President — Class of 2021

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Dear Dean Baker and Members of the Promotions Committee:

lam writing to appeal the decision of dismissal from The Wayne State University School of
Medicine. | was not surprised, but very upset and distraught to receive a the earlier this month
informing me of my dismissal. I'm writing with the hope that you will reverse this decision. Thank you
for allowing me the opportunity to further explain my circumstances and provide additional evidence
that | hape will help with this goal.

| would like to address a few things that | did not get the change to in the promotions meeting. |
was asked why | had contact with J and why this situation has unfolded over such a long duration
of time. | want to assure you, that the only reason | reestablished contact with J was due to the
message that | received from Apple saying that my account had been accessed from Colorado. | have
attached this evidence (Evidence #1 and #2) to this appeal letter. | have also included several more
instances when my accounts were breeched, and | hope this helps you and the committee understand
why this series of events unfolded over a such large amount of time. With this said, | would also like to
state that | have done a great deal of self-reflection of how this situation has effected
something | should have done more of in the beginning. | have attached an apology letter to her stating
these feelings.

| want to make a promise to you and this committee and be more specific than the comments |
made last time we met. | understand the issues that you and the committee are worried about. | will
not, under any circumstances, use my position (hopefully as a physician) for personal gain, | will never
use it to access any information, or abuse my power in any way shape or form. | know how easy itis to
be expelled from a residency, even something so little as accidently checking a family members
information is a major violation and is grounds for dismissal. | want to assure you, that nothing like this
will ever happen. | swear to you, on my life, that | will uphold all of the values inducing: Professional
responsibility, competence and self-improvement, respect of others and professional relationships,
honesty including academic integrity, personal responsivity, and social responsibly. | have been self-
reflecting of what all of these mean to me and have come to a greater understanding of the importance
of each and every one of them. If given the chance, | pledge to you that | will uphold them going
forward.

| love Wayne State University, and it would mean so much to me to graduate with a medical
degree from this institution, which would make me the first person in my immediate and extended
family to become a physician. | would like to take a moment to speak to how much this university means
to me. Earlier, | have said that becoming a physician is by far the largest part of my identity. | would like
to stress this fact to this committee. Becoming a physician and participating in this noble career has
been the only thing | have ever wanted to do in my life. Attached to this letter, | you will find a message
from a time capsule that | wrote in my kindergarten class of 1999. |t says that when | grow up, | want to
be a doctor. | vividly remember being in S" grade and making a poster project on the human body, going
over four different systems (MSK, Nervous, CV, and Immune). This has truly been all | have ever wanted
to do, and | cannot imagine being who ! am without this in my life. | remember the moment | received
my acceptance email to the WSUSOM. | was in the middle of a medical school interview at MSUCHM. |
was so elated that | got into my #1 choice school, that | got up and left the interview, as | knew in my
heart where | wanted to learn the art of medicine. This place is my family, my only source of support,
and is the most important part of my life.

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Since the decision, | have been a shell of my former self, cycling through different stages of grief,
denial, anger at myself, bargaining, and depression. This past week, match week, was of particular grief,
self-loathing, and disappointment for me. The feeling of joy in seeing my colleagues match into their
dream residency, mixed with the debilitating sadness that consumed me knowing that | may never get
the chance to do this, was extremely difficult to manage and comprehend. Since | have gotten my
dismissal letter, the only people | have told are my significant other, who | had been dating for ten years,
and my father (1 do not have a relationship with my mother). My significant other has since left me, and
my family has disowned me due to the news. | am truly alone, | have lost everything and everone
important to me in my life, and relies how big of a mistake | have made.

WSU has acted as one of my only support systems in my life. | grew up in an abusive household.
| would like to share with you an excerpt from my AMCAS application:

“I did not have the privileges of a typical medical school applicant. | grew up in a household with
a horrible living environment. Forced to work at the age of eleven, my abusive parents fought
constantly, taking their anger out on me for the duration of my childhood. | was constantly
cussed at and thrown out at night when my they would have their weekly fights because of
marital and mental health issues. | would be blamed for their problems, punishing me for no
reason. | could nat take it; all the abuse, the cursing, the humiliation, the feeling of not having
anywhere to turn to. So | decided to leave at the first opportunity that | could. When it came
time to matriculate into college, they wanted me to stay home, work, and deal with their issues.
| had to pay my way through college with no support from anyone but myself, which was very
hard due to financial aid regulations. With the help of police reports, | was able to acquire
dependency and poverty status with my university. This opened the door for me to take out
loans and receive grants/scholarships. While this made it possible for me to start my higher
education, | still was required to work thirty-forty hours a week to pay tuition and survive. | was
still able to achieve even with these disadvantages. | have had no contact with my parents
since.”

As you can see, | have vivid memories of abuse, cold nights outside in the middle of winter, and
trauma, some of which is continuing. After much introspection with my therapist, we both came to the
concussion that | must create a better support system in my life, as it may have had to do with the
actions that | took in this matter. | vow to create a better support system to help me become a more
well-rounded individual, who asks for support when | need some. Please see the pieces of evidence
below, many messages from my mother, as proof of this trauma.

My dismissal has been the biggest wake-up call for me of my life, and | am very aware that if my
behavior doesn't change, | don't deserve to attended the WSUSOM. As! am sure you can all see my
dream has always been to study medicine at this institution, and | am disappointed in myself for letting
my behavior get in the way of that dream. | am confident, however, that with the support and
awareness that | now have, | can be successful if given a second chance. | hope you will give me the
opportunity to prove to you that | am capable of turning this mistake into a growth and learning
opportunity that | will never forget for the rest of my life.

| want to reiterate the oath that | took almost two years ago at our white coat ceremony, a day |
consider to me one of the proudest of my life. Today, | am restating this oath and holding it deep within
my heart, | know | can uphold this oath if given the chance. | will read it every day, as | have hung it up

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on my bedroom door to further remind me of the promises | am making each one of you at this very
moment:

“Declaration of Commitment:

| solemnly pledge myself to consecrate my life to the service of humanity; | will give to my
teachers the respect and gratitude which is their due; | will develop my skills with conscience an
dignity; the health of my patients and myself will be my first considerations; | will respect those
things that are confided in me; I will maintain by all means in my power, the honor and noble
traditions of the medical professian; My colleagues will be my comrades; | will not permit
consideration of religion, nationality, race, party politics, sexual orientation, or social standings
to intervene between my duty, my peers, and my patients; | will maintain the utmost respect for
human life and | will not use any medical knowledge contrary to Law; | make these promises
solemnly, feely and upon my honor. “

| am pleading with you and the promotions committee, as both physicians and educators, to
give me the chance to heal and learn from the mistakes that | have made. | hope that you can see that |
have learned the most valuable lession of my life due to this unfortunate experience, and | hope you
give me the opportunity to prove to you that If given a second chance, | will not need a third. | have
owned up to my actions, with full honesty, taken responsibility for them, have put in mation/have
started to execute a plan of action to better myself, and | have now provided evidence that | hope sheds
light to why | took the actions that | did. Like all humans, | am not perfect, we have all made mistakes in
our lives that we wish we could take back. None of these mistakes that we hold deep inside of us come
close to the regret and sorrow | feel about this mistake, and it is not one that will be repeated in any
way shape or form ever again.

Give me the chance to prove that | have learned from this, at least on a trial basis. Put me on an
extended probation for the next two years, until it comes time for me to graduate, and | promise you
and this committee that if any further professionalism, promotions, or any other types of complaints are
brought up against me, | will willfully accept a dismissal without a hearing, without the option to
withdraw. If you are not satisfied by the progress | make within this time, | will accept a dismissal. |
promise that if given this chance, | will make you proud.

Thank you again for taking the time to consider my appeal. Please don't hesitate to contact me if
any members of the committee have questions that | haven't answered in my letter.

Attached to this appeal are many documents:
1) The above Appeal letter.

2) A sincere apology letter to and her family. | have been wanting to write this letter for a long
time, but | was told not to have any contact with J by Main Campus when | was first made aware
of this incident. | assure you, that this apology letter is something that | have wanted to send for
months, and | would have if a knew | permitted to.

3) Many documents of evidence showing proof of my account being accessed at various times from
September 2016 — October 2018. Two of these pieces of evidence are the message that | received on my

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phone saying that my icloud was being logged into from a device located in Colorado in October 2018.
These documents are mainly from Apple, Google, Capitol One, and Flagstar Bank.

4) A letter from my Therapist and Psychiatrist stating that | am currently in their care.

5) The above-mentioned picture of the above mentioned time capsule sheet, dated in 1999.

6) My Evalue ratings.

7) The police report number and Federal Trade Commission Identity theft report that | have reported.

8) My original letter to the promotions committee.

9) A series of text messages from my mother, evidence of the trauma and support system issues | spoke
of above.

Sincerely,

Anthony Eid

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Dear J & the J Family,

Please allow me to apologize for all of any pain, grief, stress, and anxiety | have caused you
between 2016 and 2018. My behavior was extremely inappropriate, immature, and lacked the respect
all of you deserve. | was not thinking about how my actions may have negatively affected you, or how
my action may have negatively contributed to your mental! health, anxiety, fear, and overall wellbeing. |
now understand that this whole situation was a disruption for you and must have been a distraction
from school, life, and your happiness.

| feel terrible about all the messages that you received from me, yet | am sure that is nothing
compared to how they must have made you feel. When you told me that you were not the person who
was accessing my account(s}, | should have believed you, | could not accept that it was true. | just
couldn't wrap my head around the idea that all these events could happen in such close proximity to
when we met. | was in denial, and clearly prioritizing my self-interest over your own feelings. Regardless,
| did the one thing | shouldn't have done: | chose not to believe you, and | negated your experience. It
shouldn't have taken me so long to realize that you had been telling the truth all along, and ! hate myself
for understanding this now rather than earlier. | should have simply believed you, | shouldn't of
badgered you with text messages, and | especially should not have threatened to sue you for damages.
For all of this, | am so truly, deeply sorry.

In the future, | have every intention of curbing my thoughtless actions and learning to adjust my
behaviar befitting the environment and situation. My behavior was clearly unacceptable, and I've
already taken steps to understand why | acted in such an inappropriate manner and how | can keep
something like that from happening again. | am in therapy, seeing a physiatrist, doing daily self-
reflection, and am enrolling in an ethics course to help aid in this goal.

| regret nothing more in my life than what | have done to you. It was wrong, stupid and
immature and you do not deserve any of the grief, anger, or fear that | have caused you. | understand
the gravity of the situation, and | hope that you can find it in your heart to forgive me. Words will never
fully express how sorry | am, but | truly hope that this letter can act as a good start, so you can allow
yourself to heal from any damage this situation has caused you. | hope and pray that your recovery is
swift and as pain-free as possible.

| know that nothing | say in this letter can make up for the pain | have in avertedly caused you
and your family. | hope and pray that this letter can act as closure for you. | am asking for your
forgiveness. If there is anything | can do, whether it be monetary, charitable work, a public statement, or
anything at all you would like for me to do to help your healing process, please let me know.

Once again, | am sorry.

Sincerely,

Anthony Eid

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Apple ID Sign In Requested
anthantheid@gmail.com

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on the web near Englewood, CO,

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Evidence #1: The message | received that my Apple ID account way being accessed from a
device in Colorado in October 2018.

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Your Apple ID is being used to sign in on the
web near Englewood, CO.

 

Evidence #2: A second message saying my Apple ID account was being accessed by a device
from Colorado in October 2018.

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Evidence #3: A message from Caption One stating that my account was compromised in June
of 2018.

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Evidence #4: A message from Caption One stating that my account was compromised in
December of 2016.

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Evidence #5: A message from Google stating that my Gmail account was compromised in
September of 2018.

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Evidence #6: A message from Google stating that my Gmail account was compromised in
January of 2018.

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Evidence #7: A message from Google stating that my Gmail account was compromised in
October of 2018, a few days before | received the message from Apple about my Icloud being
logged into in October of 2018

WSU / Eid 000541
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1079 Filed 01/31/22 Page 18 of 41

  

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Evidence #8: A message from Google stating that my Gmail account was compromised in
December of 2016, a few months after meeting

WSU / Eid 000542
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1080 Filed 01/31/22 Page 19 of 41

  

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Evidence #9: A message from Google stating that my Gmail account was compromised in
December of 2016, one month after nieatng aN

WSU / Eid 000543
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1081 Filed 01/31/22 Page 20 of 41

 

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Evidence #10: A message from Capitol One stating that a new card was being shipped to me in
September 2018 due to a fraud case.

WSU / Eid 000544
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1082 Filed 01/31/22 Page 21 of 41

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Evidence #11: A message from Capitol One stating that a new card was being shipped to me in
November 2016 due to a fraud case.

WSU / Eid 000545
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1083 Filed 01/31/22 Page 22 of 41

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Evidence #12: A message from Capitol One stating that a new card was being shipped to me in
November 2016 due to a fraud case. This is a different account number than the card in
Evidence #11.

WSU / Eid 000546
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1084 Filed 01/31/22 Page 23 of 41

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Evidence #13: Evidence that | did in fact change my password in January 2017.

WSU / Eid 000547
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1085 Filed 01/31/22 Page 24 of 41

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Evidence #14: A message from Capitol One stating that a new card was being shipped to me in
August 2017 due to a fraud case.

WSU / Eid 000548
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1086 Filed 01/31/22 Page 25 of 41

 

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Evidence #15: A message from Capitol One stating that a new card was being shipped to me in
October 2017 due to a fraud case.

WSU / Eid 000549
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1087 Filed 01/31/22 Page 26 of 41

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Evidence #16: A message from Capitol One stating that a new card was being shipped to me in

WSU / Eid 000550
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1088 Filed 01/31/22 Page 27 of 41

September 2016 due to a fraud case, a few weeks after meeting

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Evidence #17: A message from Apple stating that my Apple ID had been accessed in
September 2016, a few weeks after meeting

WSU / Eid 000551
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1089 Filed 01/31/22 Page 28 of 41

 

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Evidence #18: A message from Apple stating that | changed my Apple ID Password in
September 2016

WSU / Eid 000552
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1090 Filed 01/31/22 Page 29 of 41

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Sr :

Capi falOne

P.O, Box 30277
Salt Lake City, UT 84130-0277

Anthony E Eid 1prbe
1247 SELDEN ST
DETROIT, Mi 48201-1519

March 11, 2019
RE: 4147099375740402

Bear Anthony E Eid.

We're happy to tell you that your fraud investigation with Capital One is now resolved.

Please keep in mind, the merchant(s) may resubmit the charge(s} within 45 days of the date of this
letter. If the merchant(s) does resubmit the charge(s), we'll notify you with » request for additional
information Please keep all documentation related to this fraud claim for 90 days

We understand that when you experience fraud. it’s a serious situation that can be both stressful
and inconvenient, and we're sory you've had to go through this As part of our SO fraud liability
promise, you were not held responsible for any fraudulent charges

We truly hope you're satisfied with how this case was handled and hope you'll be able to relax
and get back to life as usual knowing that Capital One will continue to prefect, monitor, and
resolve any issues with your sccount That's our promise to you.

If you have questions, please give us a call at 1-800-215-1921. Our Customer Service Representalives
are available from 9am to 8pm Eastern Time, Monday through Friday,

Sincerely,

Customer Fraud Protection
Phone: 800-215-1921 }

Evidence #19: A message from Capitol one saying a fraud case has been resolved. | requested
this document on 3/11/2019, but the case was predating to one of the above messages of fraud

WSU / Eid 000553
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1091 Filed 01/31/22 Page 30 of 41

in my account
a:

Capital .

P.O Bax 30277
Salt Lake City, UT 64130-0277

Anthony Eid uehwe
1247 SELDEN ST
: DETROIT, M) 48201 1519
March 11, 2019
RE:
403.448 668336175

Doar Anthony Eid
We're happy to tell you that your fraud mrestigation with Capital One is now resohed

Please keep in mind, the mecchant(t) mey resubmit the charges) within 45 days of the date of this
letter if tba merchant(1) does resubsmil the charge(s), we'll notify you with a request for additional
information Pleate keep all documentation related to this fraud claim for 90 days

We understand that when you experience fraud, it's a serious situation that can be both stressful
and incorreenient, and we're tory you've had to go through thit. As part of our $0 fraud liability
Prométe, you were not held retponsibte for any fraudulent charges

We truly hope you're tatisfied with how tht case was handled and hope you'll be able to relax
and get back to life e usual knowing that Capital One will continue ta protect, monites and
roots any inves with your eccount, Thal's ovr promise to you

H you have quettions, please give ut a call at 1-800-215-1921. Our Customer Service Representatives
are available from 9am to Spm Eattern Time, Monday through Friday.

ATE DAVEE CREM ea] OY NCEP TTL MDE

Sincerely,

Amanda T

Customer Fraud Protecton

Phone: 600-215-1921, ext. 291-0686

Fox: 866-377-1123
Dept, hours of operation; Monday —Friday, 5 a.m. - 68 p.m, ET

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Evidence #20: A message from Capitol one saying a fraud case has been resolved, | requested
this document on 3/11/2019, but the case was predating to one of the above messages of fraud
in my account. Note that the RE: # is different from the one in evidence #19.

WSU / Eid 000554
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1092 Filed 01/31/22 Page 31 of 41

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Primary Account Number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Statement Parlod
ANTHONY E€ EIO From 02/07/19
86 N SHIRLEY ST
c ME. 4n342 thru 03/06/19
Withdrawals and Debits
Date Description Amount
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Evidence #21: A bank statement from Flagstar Bank regarding a fraud incident that took play on

WSU / Eid 000555
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1093 Filed 01/31/22 Page 32 of 41

 

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ANTHONY E EID
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Primary Account Number
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O2/11 Deposit WEN Transfer from 101735457 sav
o2/11 External Deposit MOMMOUMZLINIGH - TRANSFER
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B741745
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Deposits and Credits
Date Description
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O2/11  Lxternal Deposit Moeecerri4niGw - TRANSFER
o7/25

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Ss

QUESTIONS? Call (800) 42-009 for a questions und for lean

Amount Balance

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Evidence #22: A bank statement from Flagstar Bank showing resolution of the fraud incident
that took play on 2/11.

WSU / Eid 000556
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1094 Filed 01/31/22 Page 33 of 41

Flagstar’
—— Bank

ee

July 11, 2018

ANTHONY EID
1247 SELDEN
DETROIT, MICHIGAN 48201

Re: Your account ending in 7789
Dear ANTHONY EID,

On 07/02/2018 you nolified us ofa Potential error regarding the ATM/Debit Card
transocl on{s) listed belew

Transaction Date Originntori Merchant Transaction Amoun!
WALGREENS STORE
SHEERS 281 TAMPA FLUS $23.21

Flagstar’

—= Bank

July 11, 2018

ANTHONY EID
1247 SELDEN
DETROIT, MICHIGAN 48201

 

Re: Your account ending in 7789
Dear ANTHONY EID,

On 07/02/2018 you notified us of s potential errar ragarding the ATM/Debil Card
transactlon(s) listed below:

 

 

Transaction Date CriginatonMerchant Transaction Amount
PNC BANK 2325 E FLETCHR
o7/o22018 AVE TAMPA FLUS $200.00

Evidence #23 &24: A statement from Flagstar Bank showing disputed charges in July 2018.

WSU / Eid 000557
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1095 Filed 01/31/22 Page 34 of 41

Wayne State University Physician Group

 

of Paychlatry and Behavi
i = Telan Park Medical Building
University 3901 Chrysler Service Drive, Bulte 3
Physician Group Detroli, Mi 48201-2167

Office: (313) 577-1396 Fax (313) 877-1419

Patient: Name Anthony Eid
Date: March 19, 2019

To Whom It May Coneem,

The above-mentioned patient has beer scen af my office on the dates of 2/19/19, 3/5/19, and
SVI9AD by a therapist and by 5 psychiatzist on 3/4/19 with a follow wp appointment scheduled for
3/28/19. Patient has mode an effort to spend session time focusing on reflection and self-awareness
Hf you should have any further questions or contems, plesse feel free to contact our office at 3)3-
577-1396

Ne  ————

Sincerely,
Amanda Briskey, LLMSW

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University Physician Group

Evidence #25: A letter from the WSUPG Psychiatry center showing that | am a patient there and
am focusing of reflection and self-awareness.

WSU / Eid 000558
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1096 Filed 01/31/22 Page 35 of 41

 

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If I had 3 wishes they would be : ai Ry”
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Evidence #26: Letter to myself in a time capsule, in 1999 when | was 7 years old in
kindergarten.

WSU / Eid 000559
Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1097 Filed 01/31/22 Page 36 of 41

WSUPD Report #(96): 19-0211-0293
FTC Identity Theft Report #: 105226090

Evidence #27: The WSUPD report and FTC Identity theft report number.

WSU / Eid 000560
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come around the Christmas eat and

take present and leave. No
appreciation to me what so ever. |
cut u off my life and u didn't care
whal soever tis your lose .| truly
wish that u suffer m your marriage
and | won't be around for u but
again | know u don't care, cause ur
just like him . No feefings no
emotion and no heart , | will curse u
from my grave .

(wish u a mit Miri
your dad .

Keep on bein fe
u tell him shit ef|)) s
as marcel sal

You were blo an
didn't care, now | am blociang u
again and | know u have your dads
money that's why u don't step on
his tail and u wish that | die too sou
can get my money . Guess what |
took u off from my account long

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tf u were a Man U would of found
out what and why your dad is doing
what he ls daing on daily basis. Your
dad has some woman that he is on
the phone with day and raght she is
Putting him up to this wrong doing
and terror intimidation and
humiliation and very very high
hatred that doesn't stop day and
night .

But u don't care it is not your issue .
ht doesn't matter to u cause it is not
related to u in any way shape or
form

As | told u from last Christmas u just
come around the Christmas eat and
take present and leave. No
appreciation to me what so ever. |
cut u off my fife and u didn’t care
what so ever _ ft & your lose .! truly
wish that u suffer in your marriage
and | won't be around for u but
again I know u don't care, cause ur
just like him . No feeEngs no

Twa tie with bs chia Ors facia emotion and no heart . | will curse u
in your head and know that I hate u from my grave .
too.
I wish u a miserable year fust like
Blocked your dad .
Keen on beina one sided cause u be
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Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1098 Filed 01/31/22 Page 37 of 41

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WSU / Eid 000561
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forge u for being on sided af
ihese years .No matter how much
money u make or what kind of
degree u pave Hf your own mother
heart [s not good on you, u won't be
happy trust me and the proof is
your dad has money and he is
miserable

Stop telEng him to pet divorce . We
just Eve together, That it shouldn't

bother him at all since he told me to
sign the agreements and leave his

personal fe alone and his tardy . 1
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U have no solution in your head only
divorce at this time . Even chris

laughed al u yesterday and in
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Case 2:20-cv-11718-GAD-DRG ECF No. 43-24, PagelD.1099 Filed 01/31/22

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truth

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talked to him and yet every single
time on Jesus grave after u talk to
hin he comes home more Ass hole
and creales more problems. Just
fhe 4 | would of asked! u to go tell
him to fuck her up

U kiep telling him to get divorced. |
told u that's not for u to keep
Putting in his head

U told me u would stop telng him
thal so many times now .

U have one and only one solution in
your head thal u keep pounding on
his head every time | tell u there Is a
problem.

| cut my relationship with u for so
en a Oe ete

U have an agendas against me . | told
udivorce for me with 5 gas slation
fs not Qood for me and that's why |

Page 38 of 41

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WSU / Eid 000562
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Jens to cover up his pain.

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ECF No. 43-24, PagelD.1100 Filed 01/31/22 Page 39 of 41

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my dad afd} wont Lids a
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woman that be br goasg to go with
that he has sis und the get it enc t
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WSU / Eid 000563
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Whaltilpe eich wornan bb hat
makes @ man hace another person
that he doesn't even tare me enct
ha hears my voece over the phone
he wil be cussing me out 29 he can
block me and nol uwk tome meen
though & is 4100 business.

 

Case 2:20-cv-11718-GAD-DRG

ECF No. 43-24, PagelD.1101 Filed 01/31/22 Page 40 of 41

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Au cared for your dad u shoud of
advised him to grow up end tog
hating woman from the pas.
stations Yesterday evering | got 2
phone cals from customers are}
they told me whal he does to the
orca woman tinea u dort brine
me caute ur in denial about it

 

The lacy reth 40 years experience
tok me thal wall afl ciog when he
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Evidence #28: Traumatic messages,
showing the need for a better support system and self-reflecction.

WSU / Eid 000564
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Appeal Letter Addendum
Dear Dr. Baker and members of the Promotions Committee:

In my appeal letter, there was one important issue that | did not address that | feel deserves
attention, statement that | attempted to view or obtain photos off | want to make it as clear as
possible that | never, in any way, tried to obtain or view any photos, videos, or any other content related

a

This is a disgusting act and a gross statement that literally makes me sick to my stomach. An act
like this goes against every fiber of my being and does not line up with my history or my personality. |
was raised to respect woman, and have a younger sister (who is close to J age) who is one of
the closest people to me in this world. At the time, | had been patterns with my girlfriend for eight years.
Throughout much of my college career, | have attempted to make positive change both in woman's
health and in women’s services on campus. When | was an RA in the Residence Halls for four years on
our campus, | helped dozens of women who suffered from with sexual assault issues, and saw firsthand
on the damage, guilt, and life-long changes that it causes. In 2015, | was awarded the “Woman of
Wayne” scholarship from the Commission on the Status of Woman due to my history of being a
champion for woman’s issues on our campus.

| have a great deal of empathy for | can see why she was fearful if she thought
someone was trying to obtain photos of her. | am not saying that this did not happen, and | am not
accusing i of lying, however | am saying that | am not the one responsible for it. | have seen no
direct evidence linking myself this act. | am willing to submit anything | can, my computer, my cell
phone, all of my hard drives, etc to ANY third-party authenticator to prove that | did not do this act. | am
willing to take any form of a lie detector or polygraph test to clear myself of this issue in particular.

| hope this addendum adequality addresses this concern. |! am open to any questions regarding
this issue if they are needed.

Sincerely,

Anthony Eid

WSU / Eid 000565
